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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CORECO JA’QAN PEARSON, et al.,

       Plaintiffs,
                                            CIVIL ACTION NO.
v.
                                            1:20-cv-04809-TCB
BRIAN KEMP, et al.,

       Defendants.



           NOTICE OF APPEARANCE OF JOSH BELINFANTE

      COMES NOW Josh Belinfante of the law firm Robbins Ross Alloy Belinfante

Littlefield LLC, located at 500 14th Street N.W., Atlanta, Georgia 30318, hereby

makes an entry of appearance in the above-styled action on behalf of Defendants

Governor Brian Kemp, Secretary of State Brad Raffensperger, and State Election

Board Members Rebecca Sullivan, David Worley, Matthew Mashburn, and Anh Le

(collectively, “State Defendants”). Please direct all further pleadings, notices,

orders, and other matters to him at the address below.

      Respectfully submitted, this 3rd day of December, 2020

                                  /s/ Josh Belinfante
                                  Josh Belinfante
                                  Georgia Bar No. 047399
                                  jbelinfante@robbinsfirm.com
                                  Robbins Ross Alloy Belinfante Littlefield LLC
                                  500 14th Street, N.W.
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                       Atlanta, Georgia 30318
                       Telephone:(678) 701-9381
                       Facsimile: (404) 856-3250

                       Counsel for Defendants Governor Brian Kemp,
                       Brad Raffensperger, in his official capacity as
                       the Georgia Secretary of State and the Chair of
                       the Georgia State Election Board; Rebecca N.
                       Sullivan, David J. Worley, Matthew Mashburn,
                       and Ahn Le, in their official capacities as
                       Members of the Georgia State Election Board




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                         L.R. 7.1(D) CERTIFICATION

      I certify that this Notice has been prepared with one of the font and point

selections approved by the Court in Local Rule 5.1(C). Specifically, this Notice has

been prepared using 14-pt Times New Roman Font.

                                       /s/ Josh Belinfante
                                       Josh Belinfante
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                        CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the within and foregoing NOTICE

OF APPEARANCE OF JOSH BELINFANTE with the Clerk of Court using the

CM/ECF system, which automatically sent counsel of record e-mail notification of

such filing.

      This 3rd day of December 2020.

                                       /s/ Josh Belinfante
                                       Josh Belinfante
